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  The relief described hereinbelow is SO ORDERED.

  Signed June 05, 2020.


                                                          __________________________________
                                                                       Ronald B. King
                                                            Chief United States Bankruptcy Judge




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          20-51084-rbk Doc#5 Filed 06/12/20 Entered 06/12/20 23:26:31 Imaged Certificate of
                                          Notice Pg 5 of 5
                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 20-51084-rbk
KrisJenn Ranch, LLC, Series Pipeline Row                                                                   Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: sosaa                        Page 1 of 1                          Date Rcvd: Jun 10, 2020
                                      Form ID: pdfintp                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 12, 2020.
db              KrisJenn Ranch, LLC, Series Pipeline Row,   410 Spyglass Rd,   McQueeney, TX 78123-3418

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 12, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 8, 2020 at the address(es) listed below:
              Ronald J. Smeberg   on behalf of Debtor   KrisJenn Ranch, LLC, Series Pipeline Row
               ron@smeberg.com, ronaldsmeberg@yahoo.com
              United States Trustee - SA12   USTPRegion07.SN.ECF@usdoj.gov
                                                                                            TOTAL: 2
